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Case Being Consideredfor Treatment Pursuant to Rule 34(j) of the Court’s Rules

                                            No. 2023-1050
                                    In The
         United States Court of Appeals
       For The District of Columbia Circuit
                              CORY H. SMITH
                                                Plaintiff - Appellant,

                                       V.


         COMMISSIONER OF INTERNAL REVENUE
                                               Defendant - Appellee.

                          ON APPEAL FROM THE
                        UNITED STATES TAX COURT
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                              Case No. 5101-20                                    ID
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                   Hon. Emin Toro, Tax Court Judge, Presiding                ^ tc
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                                OPENING BRIEF                                O O
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                              FOR THE APPELLANT
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CORY H. SMITH                                                                 3 u.


PSC 276 BOX 411
APO, AP 965
E-mail: cory.smith2@gmail.com
Tel.:+ 61 4 6050 3167
Petitioner-Appellant pro se
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        CERTIFICATE OF PARTIES, RULINGS, AND RELATED CASES
                 PURSUANT TO CIRCUIT RULE 28(a)(1)

      A.     Parties and Amici. CORY H. SMITH is the petitioner in the United

States Tax Court and Appellant in this Court. CORY H. SMITH, as an individual,

certifies that there are no parent companies and no publicly held companies to

disclose pursuant to Circuit Rule 26.1. The Commissioner of Internal Revenue is the

defendant in the United States Tax Court and Appellee in this Court.

      B.     Rulings Under Review. CORY H. SMITH appeals the August 25,

2022, Order of the United States Tax Court (Judge Toro, Emin), the January 12,

2023, Order of the United States Tax Court (Judge Toro, Emin) and the February

14, 2023, Order of the United States Tax Court (Judge Toro, Emin).

      C.     Related Cases. The appealed rulings have not previously been before

this Court or any other court. The following cases involve common questions of law

to the appealed ruling and are pending in the United States Tax Court and the United

States Court of Federal Claims:

United States Court of Federal Claims

No. 20-1037T      Ramon D. Baney and Marion D. Baney v. USA

United States Tax Court

No. 18581-22       Cameron Z. Gregory & Kathleen E. Gregory v. Commissioner
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No. 13605-22    Robby L. Larmon & Brandi N. Larmon v. Commissioner

No. 12547-22    Kevin Doherty v. Commissioner

No. 12546-22    Cameron Z. Gregory & Kathleen E. Gregory v. Commissioner

No. 10240-21    Cameron Z. Gregory & Kathleen E. Gregory v. Commissioner

No. 5992-21     James T. Christian & Racheal S. Christian v. Commissioner

No. 4747-21     Brian J. Hall & Robin A. Hall v. Commissioner

No. 2506-21     Alexander J. Bebout & Angelica Bebout v. Commissioner

No. 1305-21     Nicole Diane Henaire v. Commissioner

No. 1244-21     Hans L. Mayberry & Bradley C. Hayden v. Commissioner

No. 464-21      Mark D. Snoddy & Kristen M. Snoddy v. Commissioner

No. 11505-20    Michael Runnels v. Commissioner

No. 5386-20     George P. Brown & Ruth Hunt-Brown v. Commissioner

No. 5620-20     Bartholomew Deady & Patricia Deady v. Commissioner

No. 6209-20     Yoseph Jenaye v. Commissioner

No. 6500-20     Alejandro Nunez & Amy Nunez v. Commissioner

No. 6501-20     Andrew P. Mattson & Lindsey J. Mattson v. Commissioner




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                       STATEMENT OF ORAL ARGUMENT

      This Court determined that this case should be considered for treatment

pursuant to Rule 34(j) of the Court’s ruling and to not schedule oral argument.




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                                     GLOSSARY

Internal Revenue Service                            ■ IRS
Joint Defense Facility at Pine Gap                    JDFPG
United States Code                                    u.s.c.




                                       vni
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                      JURISDICTIONAL STATEMENT

      The Tax Court had jurisdiction under 26 U.S.C. § 6213(a). This Court has

jurisdiction under 26 U.S.C. § 7482(a)(1). Venue is proper in this Court under 26

U.S.C. § 7482(b)(1) (flush language) because Appellant resides outside of the United

States and, thus, not a resident of a location covered by any other U.S. Court of

Appeals.


                        STATEMENT OF THE ISSUES

      Whether the United States Tax Court erred in determining that the Closing

Agreement between Smith and the IRS is valid and enforceable when it contained a

material misrepresentation of fact, was procured through malfeasance, assent was

induced by a third-party that Smith was justified in relying, and an IRS employee

lacking proper authority signed the Closing Agreement.

      Whether the United States Tax Court erred in denying Smith the deduction of

the value of his housing under 26 U.S.C. § 119 despite his housing being adjacent to

his employer’s place of business and, therefore, considered the business premises of

the employer.
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                          STATEMENT OF THE CASE

 I.     FACTUAL BACKGROUND

      A. Pertinent Facts Surrounding Appellant’s Closing Agreement
         1.   Smith is a United States taxpayer currently living in Alice Springs,

Northern Territory (“NT”), Australia.

        2.    Smith has worked for Raytheon at Joint Defense Facility at Pine Gap

(“JDFPG’) in Australia since 2010. JA0289.

        3.    Smith received and accepted an offer from his employer Raytheon in

2009. JA0130.

        4.    The onboarding process was lengthy and lasted several years. To not

further delay an already lengthy onboarding process, Smith did not seek further

employment. To prepare for his life in Australia, he sold his then recently paid off

car, air shipped his personal belongings to Australia, and resided with his parents to

save money. JAO130-31.

        5.    Upon his arrival in Alice Springs, NT, Australia, Smith was presented

with a Closing Agreement for the first time by his employer on his first day at work.

His employer communicated to him that he has no choice but to sign the Closing

Agreement or else he would risk immediate unemployment and would be financially

responsible for shipping his personal belongings back to the U.S. Smith was required

to sign the Closing Agreement at his employer’s administrative office. JA0131.
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      6.    The Closing Agreement purported to waive his right to claim the

Foreign Earned Income Exclusion pursuant to 26 U.S.C. § 911. His employer unduly

pressured him every three years to sign a new Closing Agreement. The employer

continued to threaten Smith with risk of unemployment and being subject to both,

U.S. and Australian, tax withholding. JA0131.

      7.    Neither the Commissioner of the IRS nor any of his delegates were

present for, or part of, the employer’s communications with Smith regarding the

Closing Agreement.

      8.    No IRS official discussed or directly presented Smith with any of the

Closing Agreements over the years.

      9.    The Closing Agreement at issue in this case is the 2016-2018 Closing

Agreement that Smith signed on April 21, 2016.

      10.   No IRS official was present when Smith signed the 2016 - 2018

Closing Agreement.

      11.   At no point did Smith authorize his employer to act as his agent to

communicate with the IRS on his behalf regarding his tax obligations.

      12.   Smith never executed IRS Form 2848, Power of Attorney, or any other

power of attorney form authorizing his employer as his representative to

communicate with the IRS on his behalf regarding the Closing Agreement. Smith
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also never authorized his employer to receive any documentation on his behalf from

the IRS.

       13.   Smith never executed Form 8821, Tax Authorization, Disclosure

Authorization giving authorization to his employer to receive confidential

information on his behalf. Smith also did not provide oral disclosure consent or

authorize Raytheon as a third-party designee.

       14.   IRS Official Deborah Palacheck signed the Closing Agreement on May

17, 2017. Ms. Palacheck signed the Closing Agreement with the title Director,

Treaty Administration.

       15.   Smith did not submit this purported Closing Agreement directly to the

IRS, nor did the IRS submit an executed copy of the purported Closing Agreement

directly to Smith.

   B. Pertinent Facts Surrounding Appellant’s Housing
      16.    Smith lived at 36/27 Shanahan Close, Alice Springs, NT 0870 from

September 17, 2010, until September 5, 2018. JA0290.

      17.    For each tax year. Smith received a 1099-MISC from the Secretary of

the Air Force showing as nonemployee compensation the value of lodging provided

to Smith. In 2016, the value was $15,889.00. In 2017, the value was $15,501.00. For

2018, the value was $10,015.00.
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       18.   Along with the 1099-MISC, each year, Smith received a memorandum

from the Air Force that explains that the housing is owned by the U.S. Government.

It further explains that due to the nature of the relationship between Smith, his

employer, and the U.S. Government the housing is reportable to the IRS. It also

states that the value was determined in coordination with the IRS and is based on the

size of the home and the time Smith occupies the home.

       19.   Smith received a handbook from his employer that lays out the

employer’s policies.

      20.    Smith is a shift worker as defined in the handbook. The handbook

explains that the average numbers of work hours are 42 hours. It additionally states

that employees may be called in after hours or on weekends.

      21.    The handbook further stresses the importance of Smith’s conduct while

assigned to JDFPG and explains that he will need to display competence and conduct

that credit the United States.

      22.    The handbook also highlights that the “[sjecurity and the protection of

classified information is a vital responsibility of every employee.”

      23.    The handbook also explains that moving expenses will be billed to

Raytheon directly.

      24.    The handbook also states that: “an employee assigned overseas for

[Raytheon Australian Operation] programs will be provided good quality furnished
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housing by the JDFPG. The furnishings consist of normal furniture required

throughout the house, plus all major appliances such as: lamps, stove, refrigerator,

deep freeze, washer, dryer, microwave, vacuum cleaner and dishwasher. In brief,

everything for normal, comfortable living is provided except such items as dishes,

cooking utensils, linens, etc. Since adequate furnished accommodations are provided

and general goods are available in Alice Springs, only a limited amount of household

goods and personal effects need be shipped to the overseas location.”

      25.      The handbook also lays out in detail the following information under

Section 5. Housing:

            a. “All employees transferred to Alice Springs on the O&M Program are

provided good quality JDFPG housing.”

            b. “The accommodations are furnished so that only a minimum of

household goods and personal effects need be shipped from the U.S.”

            c. All household utility services besides telephone service are provided to

the employee at no charge.

            d. A JDFPG housing board assigns the housing during monthly meetings.

The housing is assigned based on the family size.

            e. An employee who is eligible for JDFPG housing can relinquish that

right and receive housing assistance instead. To be eligible for housing assistance a
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current “employee residing in JDFPG housing is eligible for housing” must “first

relinquishing their JDFPG accommodation”.

            f An employee is required to notify the JDFPG Security Office of any

U.S. or foreign visitors.

      26.     In late 2009, his employer first informed Smith of his housing

assignment.

      27.     On September 22, 2009, the employer provided a document titled

“Welcome to Alice Springs” to Smith.

      28.     The document explains that JDFPG assigns housing based on family

size for the entirety of the tour assignment.

      29.     It also explains that the housing is assigned by the JDFPG’s Facility

Housing Board.

      30.     As part of the assigned housing, the Facility Maintenance Division

provides maintenance services for all house and appliances. In Town Services also

provided weekly trash removal, bulk trash pick-up, and furnishes utilities except

telephone services.

      31.     The document also explains that because furnished housing is provided,

employees are restricted in in the amount of weight allowance of household goods

that one can ship to Australia.




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       32.   On August 10, 2010, prior to Smith move to Australia, Linda J. Ross, a

representative of Raytheon, informed petitioner of his housing assignment at 36/27

Shanahan Close, Alice Springs, NT 0870.

       33.   Even though Alice Springs is approximately 11 miles away from

JDFPG, the assigned housing was as close to JDFPG as possible. There is no closer

area zoned for housing.

       34.   In 2018, Smith had to move out of the assigned housing as JDFPG

ceased to provide housing. At that time. Smith did not have the option to remain in

the assigned housing.

 II.   PROCEDURAL BACKGROUND

       35.   On or before April 15, 2017, Smith filed his 2016 U.S. Tax Return.

       36.   On or before April 15, 2018, Smith filed his 2017 U.S. Tax Return.

       37.   On October 12, 2018, Smith amended his 2016 and 2017 U.S. Tax

Return toclaim the Foreign Earned Income Exclusion and to deduct the value of

housing from his taxable income. The amendments were deficient as they did not

contain Smith’s original signature Smith corrected the deficient filing on November

5, 2018, by submitting amended U.S. Tax returns containing his original signature.

       38.   On or before April 15, 2019, Smith filed is 2018 U.S. Tax Return

claiming the Foreign Earned Income Exclusion and to exclude the value of housing

from his taxable income.

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       39.   On February 12, 2020 the IRS issued a Notice of Deficiency. The IRS

denied Smith the Foreign Earned Income Exclusion and the exclusion under 26

U.S.C. § 119(a) for his housing.

       40.   On March 17, 2020, Smith challenged the IRS’s denial by filing a

Petition in the U.S. Tax Court.

       41.   On March 25, 2022, Smith and the IRS filed a competing motion for

partial summary judgments requesting the Tax Court to determine the validity of

Smith’s Closing Agreement.

       42.   On May 24, 2022, the Tax Court held oral arguments on the competing

motions.

       43.   On August 24, 2022, the Tax Court held that the Closing Agreement is

valid and enforceable.

       44.   On November 4, 2022, Smith and the IRS filed competing motions for

summary judgment requesting the Tax Court to determine whether Smith can

exclude the value of his housing from his taxable income pursuant to 26 U.S.C. §

119.

       45.   On January 12, 2023, the Tax Court granted the IRS’s motion for

summary judgment holding that Smith did not meet the requirements under 26

U.S.C. § 119.




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      46.    The parties filed the agreed computation on February 10, 2023, and the

Tax Court entered its decision on February 14, 2023.

      47.    Smith filed a timely notice of appeal on February 16, 2023.


                             STANDARD OF REVIEW

      This Court “review[s] decisions of the Tax Court in the same manner and to

the same extent as decisions of the district courts in civil actions tried without a jury

[, therefore,] apply[ing] de novo review to the Tax Court’s determinations of law.”

Byers v. Comm ’r, 740 F.3d 668, 675 (D.C. Cir. 2014).

      Likewise, “[wjhen reviewing the Tax Court’s determinations on the merits of

a taxpayer’s challenge to tax liability, we review de novo the Tax Court's legal

conclusions, including its grant of summary judgment.” Ryskamp v. Comm V, 797

F.3d 1142, 1147 (D.C. Cir. 2015) (citation omitted).


                       SUMMARY OF THE ARGUMENT

      The IRS permitted to enter into Closing Agreements pursuant 26 U.S.C. §

7121 with any person. See 26 U.S.C. § 7121. Such Closing Agreements are only

valid if the taxpayer and the IRS entered into it without a party to the agreement

inducing the other by stating misrepresentations of facts or committing malfeasance.

But this is exactly what happened to Smith. When presented with the Closing

Agreement, Smith was compelled to sign it based on the misrepresentation of

Australian law on the face of the Closing Agreement. As explained in detail, a
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misrepresentation of foreign law has been treated as a misrepresentation of fact in

contract formation. As such, when the IRS misrepresented how Australian law

allegedly applied, they committed a misrepresentation that justifies setting aside the

Closing Agreement. Further, the Closing Agreement was only entered into because

of the IRS sheer disregard for Smith’s right to keep his confidential information

private. Lastly, the IRS agent who signed the Closing Agreement was not authorized

to do so under Delegation Order 8-3, as such it is not a valid Closing Agreement.

      Further, the Tax Court erred when determining that Smith’s housing was not

on the business premises of his employer and thereby ignoring the uniqueness of

JDFPG.


                                    ARGUMENT

 I.   APPELLANT AND THE IRS DID NOT ENTER INTO A VALID,
      ENFORCEABLE CLOSING AGREEMENT, AS SUCH, THE
      CLOSING AGREEMENT CANNOT HINDER APPELLANT FROM
      CLAIMING THE FOREIGN EARNED INCOME EXCLUSION.
      A Closing Agreement is a written agreement between the taxpayer and the

IRS to settle (to “close” so to speak) the liability of a taxpayer with respect to income

tax for a certain period. See In re Miller, 174 B.R. 791, 796 (B.A.P. 9th Cir. 1994),

affd,%\ F.3d 169 (9th Cir. 1996). Once the Closing Agreement has been signed and

accepted by the IRS, it is final and conclusive. Id.




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       While Closing Agreements are statutory in nature, Courts have repeatedly

pointed out that general contract principles apply to Closing Agreements. Blue Cross

& Blue Shield United ofWI & Subsidiaries v. United States, 71 Fed. Cl. 641, 648

(2006) {citing United States v. Nat'l Steel Corp., 75 F.3d 1146, 1150 (7th Cir.1996)

(Posner, J.).

       Closing Agreements are authorized under 26 U.S.C. § 7121 and are final and

conclusive except “upon a showing of fraud or malfeasance, or misrepresentation of

a material fact.” See 26 U.S.C. § 7121(b).

       This case involves a taxpayer. Smith, who entered into a Closing Agreement

without ever having the opportunity to speak to an IRS agent. The Closing

Agreement contained material misrepresentation of foreign law, only came into

existence because of the IRS’s malfeasance in procuring the Closing Agreement and

was never signed by an authorized agent.

   A. Misstatements of Foreign Law are Treated as Misrepresentations of Fact.
       In accordance with 26 U.S.C. § 7121, a Closing Agreement, once entered into,

can only be set aside upon the showing of fraud, malfeasance, or misrepresentation

of a material fact. But general contract law still applies to Closing Agreements and

cannot be ignored.




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      The Ninth Circuit has held that Closing Agreements are contracts and

governed by rules applicable to contracts generally. Davis v. United States, 811 F.3d

335, 338-39 (9th Cir. 2016).

      In the below proceedings, Smith attacked the validity of the Closing

Agreement because the first preamble as written by the IRS contained material

misrepresentation.

      The first preamble of the Closing Agreement states the following:

             “WHEREAS, any wages, allowances, benefits and other
             emoluments paid or provided to said taxpayer as
             consideration for services performed for the employer in
             Australia, hereinafter referred to as income, are subject to
             taxation by the Government of the Commonwealth of
             Australia, and”
      The second preamble of the Closing Agreement states:

             "WHEREAS, Article 9 and Article X of the agreements
             between the Government of the United States of America
             and the Government of the Commonwealth of Australia
             relating to the establishment of a Joint Defense Space
             Research Facility and a Joint Defense Space
             Communications Station, effective December 9, 1966,
             and November 10, 1969, respectively, provide that such
             income shall be deemed not to have been derived in
             Australia, provided it is not exempt, and is brought to tax,
             under the taxation laws of the United States."
      The Tax Court held that no misrepresentation occurred because the preamble

speaks of law and not of fact and that pursuant to the plain language of 26 U.S.C. §

7121(b), only misstatement of facts can set aside a Closing Agreement. See 26

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U.S.C. § 7121(b). But the Tax Court erred by treating a statement of foreign law

akin to a statement of law.

      The preamble states that Smith’s income would be subject to taxation by the

Government of the Commonwealth of Australia. The preamble clearly expresses the

application of foreign law. As explained below, this is also an incorrect statement of

foreign law.

      In its analysis, the Tax Court cited to the well-known treatise, Williston on

Contracts, to proffer support for its conclusion that misrepresentations of fact and

misstatements of law are separate and distinct legal principles. JA0039. See

Misstatements ofLaw, 26 Williston on Contracts (Williston), § 69:10 (4th ed. 2022)

. The Tax Court then stated that, inter alia, the preamble speaks of Australian

domestic law as it applies to U.S. employees at JDFPG. JA0039.

      But a careful reading of the Tax Court’s own citation renders this conclusion

unavailing.

      The Tax Court’s own citation supports the finding that a statement of foreign

law is treated as a statement of fact in the formation of contracts and, as the Ninth

Circuit explained, contract law applies to Closing Agreements. Davis v. United

States, 811 F.3d 335, 338-39 (9th Cir. 2016).




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      The citation explains that “a statement of the law of a foreign jurisdiction is a

statement of fact and, therefore, if false, may be fraudulent.” Misstatements ofLaw,

26 Williston § 69:10 (4th ed. 2022). JA0039.

      The Tax Court erred in its ruling by ignoring that, while the judicial

determination of foreign law is a determination of a question of law pursuant to Fed.

R. Civ. P. 44.1, courts have held that a misstatement of foreign law in contract

formation is a misrepresentation of fact. See Fed. R. Civ. P. 44.1; see also Bowman

V. City of Indianapolis, 133 F.3d 513,519 (7th Cir. 1998) (citing Scott v. Bodor, Inc.,

571 N.E.2d 313, 319 (Ind. Ct. App. 1991)); see also Daly v. Brennan, 87 Wis. 36,

57 N.W. 963, 964 (1894) (“It is true that a mistake as to foreign law is considered a

mistake of fact rather than a mistake of law.”); see also Farrell v. Third Nat. Bank,

20 Term. App. 540, 101 S.W.2d 158, 164 (1936) (“A mistake as to a foreign law is

a mistake of fact rather than a mistake of law.”); see also Askew v. Smith, 246 S.W.2d

920, 922 (Tex. Civ. App. 1952) (citing 18 C.J.S., Corporations, s 327, p. 856; 23

Am. Jur., p. 815; Pomeroy, Equity Jurisprudence, 5th Ed., Vol. 3, p. 331) (“The

familiar rule (with many exceptions) that all persons are presumed to know the law

does not apply to a misrepresentation concerning foreign laws[.]”)

      Furthermore, Williston on Contracts further clarifies that if “a party’s

manifestation of assent is induced by... a material misrepresentation by one who is

not a party to the transaction upon which the recipient is justified in relying, the

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contract is voidable by the recipient.” Misrepresentations by Third Persons, 26

Williston § 69:14 (4th ed. 2022).

      As such, the Tax Court erred in its determination that the preamble speaks of

a statement of law that cannot serve as grounds to set aside the Closing Agreement.

In accordance with common law on contracts, a misrepresentation of foreign law is

treated as a misrepresentation of fact, which can serve as grounds to invalidate a

Closing Agreement. As such, this Honorable Circuit should reverse and remand to

permit the lower court to determine whether the misrepresentation of foreign law

was fraudulent.

   B. The First Preamble is a Misstatement of Australian Tax Law.
      The Tax Court begins its analysis of the first preamble with admitting that the

preamble is a legal conclusion of Australian domestic law to U.S. employees at Pine

Gap. JA0039. But because it pre-maturely ends its analysis of the preamble, the Tax

Court never analyzed whether the preamble includes a misstatement.

      Nevertheless, when the Court addressed one of Smith’s alternative arguments,

the Tax Court stated that Australia detrimentally relies on the Closing Agreement,

suggesting that the Tax Court does not believe this preamble includes a misstatement

at all. JA0028.

      To support his argument in Tax Court, Smith provided an expert opinion of

an Australian tax lawyer. The Australian tax lawyer explains income earned at


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JDPFG by a U.S. citizen is exempt from Australian domestic tax law regardless of

whether such person claims the exclusion under 26 U.S.C. § 911 on a U.S. Tax

Return. JA0141. The applicable Australian tax provision 23 AA explains that if a

non-Australian person works and lives in Australia for an approved project, such as

JDFPG, such non-Australian person is not considered to be an Australian tax

resident. The Australian tax provision then further states that the income earned at

JDFPG cannot be exempt under U.S. Tax law. As the Australian tax expert explained

the word “exempt” must be analyzed under Australian law. Under Australian law,

the phrase “not exempt from tax” means not considered at all to determine a person’s

income for that year. The Australian court has held that if an item of income is in

any way entered into the computation to determine a person’s tax liability, such

income is not considered exempt.

      When a person claims the Foreign Earned Income Exclusion pursuant to 26

U.S.C. § 911(a), the income is considered to determine the tax rate.

      26 U.S.C. § 911(a) provides for an exclusion with a progression system in

which the income is added back to the bottom of the stack for computation of a

taxpayer's tax liability. See IRS Ltr. Adv. 2013-130-23 (03-29-2013).

      IRS Letter Advice No. 2013-13-023 explains the mechanics of the Foreign

Earned Income Exclusion. The IRS Letter Advice explains that Foreign Earned

Income Exclusion is subtracted from the total gross income to obtain the adjusted

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gross income. Next, exemptions and itemized deductions are subtracted to arrive at

the taxable income. Then, the Foreign Earned Income Exclusion is added back to

the taxable income to determine the effective tax rate to be applied to the amount

exceeding the Foreign Earned Income Exclusion. Id.

      Under 26 U.S.C. § 6012(a)(1)(A), a person whose gross income is less than

the exemption amount does not have to file an income tax return. 26 U.S.C. § 6012(c)

clarifies that gross income for this section shall be computed without regard to the

excluding provided under 26 U.S.C. § 911. This requirement illustrates that even if

a U.S. citizen working at Pine Gap can reduce his adjusted gross income to $0 based

on 26 U.S.C. § 911, that income would still be brought to tax because such a person

still must file an income tax return.

      Because the application of 26 U.S.C. § 911 would not be considered an

exemption under Australian law, the preamble includes a misstatement. And the Tax

Court in Bennett v. Comm V held that usual rules of misrepresentation apply when

determining whether a Closing Agreement should be set aside. "In order to establish

a misrepresentation of a material fact sufficient to set aside a Closing Agreement

pursuant to 26 U.S.C. § 7121(b), the evidence must show that the representation

made by one party contained incorrect or incomplete information...regarding the

express terms reflected in the proposed Closing Agreement and that such

information was in good faith and detrimentally relied upon by the other party in

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entering into the Closing Agreement." Bennett v. Comm'r, 56 T.C.M. (CCH) 796

(T.C. 1988) {citing Phoenix Ins. Co. v. Comm’r, 29 B.T.A. 291 (1933))

      Despite the Tax Court erroneous ruling, Smith was able to show that statutory

grounds exist to set aside the Closing Agreement. See 26 U.S.C. § 7121(b); see also,

e.g., Wolverine Petrol. Corp. v. Commissioner, 75 F.2d 593, 596 (8th Cir. 1935).

      Because a statement of foreign law is view as a misstatement of fact. Smith

requests that this Court reverse the Tax Court’s holding that the preamble included

a misstatement of law, not fact, and remands the case back for further proceedings

in accordance with this Court’s order.

   C. Assent Obtained by Malfeasance of a Third-Party
   The Tax Court also erred in finding that malfeasance did not take place in the

making of the Closing Agreement. JA0029. By reaching such conclusion, the Tax

Court imposed requirements under 26 U.S.C. § 6103 that go beyond the plain

language of the statute. JA0030.

   As a way of background. Congress enacted 26 U.S.C. § 6103 to protect

taxpayers’ confidential information. The code provision prohibits a government

employee to disclose so-called “return information.” As the Tax Court correctly

pointed out the definition of “return information” under 26 U.S.C. § 6013 is

deliberately sweeping “to effectuate the statute’s core purpose of protecting taxpayer




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privacy.” FEIE p. 30. Sea Shepherd Conserv. Soc’y v. IRS, 208 F. Supp. 3d 56, 86

(D.D.C. 2016).

      Under 28 U.S.C. § 6103(b)(2)(A), return information is defined to include the

identity of a taxpayer, the nature, source, or amount of the taxpayer’s income, any

tax position including deductions, exemptions, credits taken on the return. This

subsection essentially protects all information that the IRS would rely upon when

determining a person’s tax liability. See 26 U.S.C. § 6103(b)(2)(A).

      But because the code provision is deliberately sweeping, the statute goes far

beyond such initial definition. As such, it protects any information regarding an

agreement that the IRS and a taxpayer enter into under 26 U.S.C. § 7121, or any

background information relating to such an agreement or request for such an

agreement. See 26 U.S.C. § 6103(b)(2)(D) (emphasis added).

      As the Court of Federal Claims explained “[i]n defining the areas of permissible

disclosure, “Congress attempted ‘to balance the particular office or agency's need

for the information involved with the citizen's right to privacy, as well as the impact

of the disclosure upon the continuation of compliance with our country's voluntary

tax assessment system.” Confidential Informant 92-95-932X v. United States, 45

Fed. Cl. 556, 558 (2000) (citing Saltzman, IRS Practice and Procedure ^ 4.06, at 4-

57)




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   The Court found that because the IRS provided a pro forma Closing Agreement

to Smith’s employer, the IRS did not violate this code provision because it was not

associated with any taxpayer. JA0030.

   By reaching this conclusion, the Tax Court misconstrues the flush language of 26

U.S.C. § 6103(b)(2)(D).

   In a footnote, the Tax Court asserts that it is not readily apparent whether 26

U.S.C. § 6103(b)(2)(D) would protect the request of a Closing Agreement if the

request does not contain return information as defined under 26 U.S.C.

§6103(b)(2)(A). JA0032.

   But a plain reading of 26 U.S.C. § 6103 does not support the Tax Court’s finding.

The definitions contained under subsection (b)(2) are not contingent on each other.

They are separate definitions. The flush language of subsection (b)(2)(D) makes it

clear that a violation occurs when an unauthorized party can associate or identify a

taxpayer by the disclosure. Here, the employer was able to associate and identify all

its employees, including Smith, when the IRS provided the blank Closing

Agreement to the unauthorized third party, as such the Closing Agreement was only

entered into through the malfeasance of the IRS.

   Further, the Tax Court erred when it dismissed the post-execution violation of 26

U.S.C. § 6103. After the IRS agent signed the Closing Agreement, the IRS sent the

Closing Agreement to the employer and not to Smith. Smith never authorized his

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employer to act as his agent before the IRS or enable the employer to accept

confidential tax information. JAO132-33.

   The Tax Court held that the execution of the Closing Agreement by an IRS agent

preempts the argument that malfeasance occurred because a post-execution violation

cannot induce a taxpayer to sign a Closing Agreement. JA0036.

   The Tax Court did not rule whether the disclosure would violate 26 U.S.C. § 6103

but simply held because the disclosure took place after the execution, it did not

matter. JA0036.

   The Tax Court stated that malfeasance must induce the taxpayer to sign the

Closing Agreement. JA0036. But the Tax Court’s own citation does not support such

legal conclusion. The United States Board of Tax Appeals in Ingram v. C.I.R., states

that the malfeasance needs to occur “in the making of’ the Closing Agreement. See

Ingram v. Comm'r, 32 B.T.A. 1063, 1065 (1935), ajfd sub nom., Comm'r ofInternal

Revenue v. Ingram, 87 F.2d 915 (3d Cir. 1937).

   The IRS own guidance states that the process of entering into a Closing

Agreement involves providing the taxpayer with a copy of the fully executed Closing

Agreement. IRM 32.3.4.7.4 (08-11-2004) explains that a transmittal letter to the

taxpayer should be prepared after the Closing Agreement has been executed. Here,

the transmittal letter was provided to an unauthorized third party, the employer. As




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such, the Tax Court erred in dismissing Smith claim because a post-execution

violation of 26 U.S.C. § 6103 still relates to the making of the Closing Agreement.

   Smith requests that this Court reverse the Tax Court’s holding and remands the

case back for further proceedings in accordance with this Court’s order.

   D. The Closing Agreement was Signed by an Agent Lacking Proper
         Authority under the Delegation Orders
   The Tax Court erred in its holding that the Director, Treaty Administration acted

within her delegated authority when she signed the 2016-2018 Closing Agreement.

JA0022.

   Through Treasury Order 150-10, the Secretary of the Treasury delegated all

authority in the Internal Revenue Code to the Commissioner, who can delegate

specific authorities through Delegation Orders. See Treas. Order: 150-10 (Oct. 22,

1982).

   Treas. Reg. § 601.202 states that "the Commissioner or any officer or employee

of the Internal Revenue Services authorized in writing by the Commissioner may

enter into" a Closing Agreement. See Treas. Reg. § 601.202(a)(1)).

   In Stiskin v. Comm V, this Court has held that the taxpayer and the IRS did not

enter into a valid Closing Agreement because it was signed by an agent lacking

proper authority. The Closing Agreement concerned a case already docketed before

the United States Tax Court. The agent signing on behalf of the U.S. Government


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was the Associate Chiefs of Appeals Offices. The Delegation Order No. 971 stated

that "Chiefs and Associate Chiefs of Appeals Offices...are hereby authorized in

cases under their jurisdiction {but excluding cases docketed before the United States

Tax Court) to enter into and approve a written agreement with any person relating

to the Internal Revenue tax liability of such person." Stiskin v. Comm'r, 72 T.C.M.

39 (1996). The Tax Court found that Delegation Order 97, which was amended and

supplemented by Delegation Order. 225 (Rev. 1), "preclude specified officers of the

IRS, including Associate Chiefs of Appeals, from entering into Closing Agreements

regarding tax shelter cases docketed in the Tax Court[.]" The Tax Court held that

since an officer lacking proper authority signed the Closing Agreement on behalf of

the Commissioner, the Closing Agreement is void. Id.

   The Tax Court erred in determining that Delegation Order 4-12 conveyed proper

authority when Delegation Order 8-3 has been held to be the proper authority for

IRS agents to sign Closing Agreements. JA0026.

   Revenue Procedure 68-16 states that Delegation Order 8-3 governs the authority

of executing Closing Agreements as competent authority. See Rev. Proc. 68-16,

1968-1 C.B. 770 (as modified by Rev Proc. 94-67, 1994-2 C.B. 800) ("Under

Delegation Order No. 97 (Rev. 4) the following categories of Closing Agreements



1 Delegation Order 97 is superseded by Delegation Order 8-3, which is addressed in
detail below.
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        will be signed in the National Office... those entered into and approved by the

        Director of International Operations: (a) as competent authority in the administration

        of the operating provisions of the tax conventions of the United States, (b) providing

        for the mitigation of economic double taxation under section 3 of Revenue Procedure

        64—54, C.B. 1964—2, 1008, and (c) providing for both such mitigation and relief

        under Revenue Procedure 65—17, C.B. 1965—1, 833.”)

           IRM 8.13.1.1 echoes the Revenue Procedure 68-16 by stating that Delegation

        Order 8-3 controls the conveyance of proper authority to IRS agents’ ability to sign

        Closing Agreements acting as competent authority. IRM 8.13.12.1(5) determines

        that "[cjlosing agreements with taxable periods ended prior to the date of the

        agreement determine either total tax liability of the taxpayer for one or more types

        of tax for such periods or one or more separate items affecting such liability or both.

        Agreements also may be entered into with respect to specific matters related to such

        periods and affecting future periods. Agreements having the foregoing

        characteristics are the types that will be entered into according to Delegation Order

        8-3." IRM 8.13.1.2.1 (05-25-2018) (Emphasis Added).

           Delegation Order 8-3 does not convey authority to the Director, Treaty
Sky.,
        Administration to execute Closing Agreements, the Delegation Order does not even
I       mention an agent with such title. See Delegation Order 8-3.




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       The Tax Court also erred when finding that Delegation Order 4-12 (Rev. 3)

    provided proper authority to the Director, Treaty Administration to execute the

    Closing Agreement. JA0024. The Commissioner provides general authority to

    certain IRS agents to act as the competent authority in various instances through

    Delegation Order 4-12 (Rev. 3). Through Delegation Order 8-3(8), the

    Commissioner provides specific authority to particular IRS agents, in their roles as

    the competent authority, to enter into and approve Closing Agreements. The United

    States Supreme Court has long held that in statutory constructions, the specific

    governs the general. Morales v. Trans World Airlines, Inc., 504 U.S. 374,385 (1992)

    (citing Crawford Fitting Co. v. J. T. Gibbons, Inc., 482 U.S. 437, 445 (1987)).

       Delegation Order 4-12 (Rev. 3) only generally describes the delegated authority

    to IRS agents to act as the competent authority, and Delegation Order 8-3specifically

    limits the delegation of authority of competent authority agents in relation to Closing

    Agreements. Therefore, Delegation Order 8-3 is the proper source of authority.

    Thus, the Director, Treaty Administration lacked the authority to sign the Closing

    Agreement.

       Smith request that this Court finds that Delegation Order 8-3 is the proper source

    of authority, reverses the Tax Court’s holding, and remands the case back for further

    proceedings in accordance with this Court’s order.




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 II.      SMITH IS ELIGIBLE FOR THE HOUSING DEDUCTION UNDER 26
          U.S.C. § 119 BECAUSE HIS ASSIGNED HOUSING IS ADJACENT TO
          THE BUSINESS PREMISES OF HIS EMPLOYER.

       26 U.S.C. § 119(a)(2) states that “there shall be excluded from gross income of

an employee the value of...lodging furnished...by or on behalf of his employer for

the convenience, but only if.. .the employee is required to accept such lodging on the

business premises of his employer as a condition of his employment.” See 26 U.S.C.

§ 119(a)(2). Treas. Reg. § 1.119-1(b) sets forth a three-part test. A taxpayer who

meets all three parts, can exclude the value of lodging. The tests are: (1) The lodging

is furnished on the business premises of the employer. (2) The employee is required

to accept such lodging as a condition of his employment. (3) The lodging is furnished

for the convenience of the employer. If a taxpayer meets the test, the value of lodging

can be excluded regardless of whether the employee is charged for the housing and

despite any characterization of the value of lodging as compensation. See Treas. Reg.

§ 1.119-l(b).

       The Tax Court determined that the assigned housing was not on the employer’s

business premises and on that basis alone denied Smith the deduction afforded under

26 U.S.C. § 119. JA0050. But the Tax Court’s ruling is erroneous due to the facts

and circumstances of Smith’s housing.

   Before Smith arrived in Alice Springs, Australia to start his employment, his

employer informed him via email of his housing assignment. JA0290. Smith was

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under the impression that he had to accept the housing assignment from his

employer. JA0290. In fact, the material provided to Smith reiterated that the housing

was assigned to him. JA0291. Throughout his time living in this assigned housing,

Smith completed mandatory and voluntary work from home. JA0291.

   The term “business premises” has been subject to various interpretations to the

point that courts have called the constructions of this phrase “at best elusive” and

“incapable of generating any hard and fast line. Bob Jones Univ. v. U.S., 229 Ct. Cl.

340, 355 (1982).

   The Tax Court correctly pointed out that “[t]he extent or boundaries of the

business premises in each case is a factual question whose resolution follows a

consideration of the employee’s duties as well as the nature of the employer’s

business. Lindeman v. Commissioner, 60 T.C. 609 (1973).” JA0051. But then

diverged from this statement when it stated that the housing did not give Smith

immediate access to his employer’s business premises, JDFPG. JA0054.

   But what sets his housing aside from regular housing is the control that his

employer and JDFPG maintained over the house. Smith had to report any visitors to

his place of employment, JDFPG. JA0292. As an unmarried individual, his employer

and JDFPG also communicated to Smith that he is not allowed to cohabitate with a

romantic partner. JA0292.




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   While the housing was located 11 miles from JDFPG, Smith’s housing was still

adjacent to JDFPG. JA0292. Smith would have been unable to live in any closer to

JDFPG due to the security buffer zone of JDFPG. JA0292. The boundaries of

JDFPG do not end when one leaves the facility. Between JDFPG and Alice Springs,

one will find not much more than dirt and a prison. In fact, JDFPG’s control

penetrates the walls of the assigned housing. Smith was subject to rules of his

employer that go far beyond regular “landlord duties.”

   Because JDFPG and, thereby. Smith’s employer exercised control over Smith’s

housing and the housing was adjacent to the border of JDFPG’s buffer zone, the

housing was in fact on the business premises.

   Smith requests that this Court finds that his housing was on the business premises

of his employer, reverse the Tax Court’s holding, and remand the case back for

further proceedings.


                              CONCLUSION
The judgment below should be vacated, and the case remanded.


                                              Respectfully submitted.
Dated June 20, 2023
                                                     /s/ Cory Smith
                                              By:
                                                    CORY H. SMITH




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                      CERTIFICATE OF COMPLIANCE

      1.    I certify that this Petition complies with the type-volume limitations of

the Fed. R. App. P. 32(a)(7)(B) because, excluding the parts exempted by the Fed.

R. App. P. 32(f), the Brief contains 7,580 words.

      2.     I also certify that this Petition complies with the typeface requirements

of Fed. R. App. P. 32(a)(5) and the type-style requirements of Fed. R. App. P.

32(a)(6) because it has been prepared in a proportionally spaced typeface using

Microsoft Word in 14-point Times New Roman.

                                              /s/ Cory Smith

                                              CORY H. SMITH




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                       CERTIFICATE OF SERVICE

       I hereby certify that on June 20, 2023, a true and accurate copy of the

foregoing Opening Brief & Rule 28(f) Addendum with accompanying Joint

Appendix was served via US First-Class Mail.



                                               /s/ Cory Smith

                                               CORY H. SMITH

                                               PSC 276 BOX 411
                                               APO, AP 965
                                               Email: cory.smith2@gmail.com
                                               Tel.:+ 61 4 6050 3167

                                               Petitioner-Appellant Pro Se




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